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                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                     FOR THE NORTHERN DISTRICT OF ILLINOIS

In re: Argon Credit, LLC, Debtor                                                                          Ch. 7
                                                                                                          Case No. 16‐39654

            FINAL REPORT OF ARGON CREDIT, LLC AS DEBTOR IN POSSESSION IN PURSUANT TO BANKRUPTCY RULE 1019(5)

Pursuant to Federal Rule of Bankruptcy Procedure 1019(5) debtor herein Argon Credit, LLC ("Argon Credit") presents this final report and
account.

I. Cash

a. Cash balance on hand at date of conversion:                                                             $                 330,234.35


b. List of bank name and last four digits of account numbers where all cash held on conversion date was located:
                                     Elk Grove Village Bank & Trust, a branch of Schaumberg Bank & Trust
                                                Company, N.A.(hereinafter "Elk Grove Village Bank & Trust") *0369

                                           Elk Grove Village Bank & Trust                                 *1986

                                           Elk Grove Village Bank & Trust                                 *2500

                                           Elk Grove Village Bank & Trust                                 *4381

                                           Elk Grove Village Bank & Trust                                 *6669

                                           Elk Grove Village Bank & Trust                                 *6677

                                           Elk Grove Village Bank & Trust                                 *6790

                                           Elk Grove Village Bank & Trust                                 *8233

                                           Elk Grove Village Bank & Trust                                 *8290

c. Is the cash balance on hand at conversion stated above subject to a security interest?                 Yes.


If so, state the name and address of the secured creditor and the amount unpaid on the security agreement as of the date of conversion:

                                                       Name and Address of Secured Creditor                         Amount Unpaid

                                           Fund Recovery Services, LLC                                     $              37,291,193.98

                                           100 Canal Pointe Blvd., Ste 208, Princeton, NJ 08540




II. Accounts Receivable

a. Total amount due the debtor from other entities or individuals on date the case was converted to a
chapter 7 case:                                                                                            Unknown                         (1)

b. Is the account receivable balance stated above subject to a security interest?                         Yes.                             (1)
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c. If so, state the name and address of the secured creditor and the amount unpaid on the security agreement as of the date of
conversion:

                                                       Name and Address of Secured Creditor                         Amount Unpaid

                                          Fund Recovery Services, LLC                                       $              37,291,193.98

                                          100 Canal Pointe Blvd., Ste 208, Princeton, NJ 08540

d. Itemize below all accounts receivable due to the debtor from other entities or individuals on the date that the case was converted to a
chapter 7 case:

       Name and Address of Customer                     Kind of Obligation/Date of Obligation                   Amount due to the debtor

N/A.




III. Accounts Payable

a. Total unpaid debts incurred during the chapter 11 case: See Ex. A for detail                             $                 174,729.18

b. Itemize below all unpaid debts incurred during the chapter 11 case including unsecured debts, secured debts, wages, administrative
expenses, etc., but not any prepetition debts:

 Name and Address of Unpaid Creditor                         Kind of Debt/Date Incurred                             Amount Unpaid

See Exhibit A. attached hereto


IV. Date that Matrix of Unpaid Creditors during the Chapter 11 case was filed:                                                12/16/2016


Not later than 14 days after conversion of the case, a schedule of unpaid debts is to be filed. This schedule should be an appropriate
matrix for mailing purposes containing the names and address of all unpaid entities since the commencement of the Chapter 11 case.

V. Original Chapter 11 Assets


Itemize below the assets of the debtor other than cash or accounts receivable on the date the petition was filed that were disposed of
during the chapter 11 case or that were retained but had a reduced or increased value on the date of conversion to the chapter 7 case:

                                             Value Scheduled in Schedules A or B/If disposed of, explain    If retained, value on date of
            Description of Asset                                    disposition                                      conversion

None.

VI. New Chapter 11 Assets

Itemize below the assets of the debtor other than cash or accounts receivable that were acquired by the debtor during the chapter 11
case and that were disposed of during chapter 11 case or that were retained as assets on the date of conversion to a chapter 7 case.
(Note: For individual debtors, this must include post‐petition earnings. See 11 U.S.C.§ 1115(a)(2)).

                                                                                                            If retained, value on date of
            Description of Asset                Price Paid for Asset/If disposed of, explain disposition             conversion

None.
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(1) Princeton Alternative Funding, LLC (PAF) has the security interest to all assets including accounts
    receivable. PAF subsequently transferred its loan and security interest to Fund Recovery Systems.
    Furthermore, all receivables have been recorded on the books of Argon X, LLC, which is in accordance
    with the schedules filed with the courts.
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                      Post‐Petition Unpaid Payables
                            Argon Credit, LLC

                  Name                       Date         Amount
Bank Direct Capital Finance              12/18/2016   $      5,933.05
Seyfarth Shaw LLP                        12/20/2016   $        401.00
Productive Edge, LLC.                    12/20/2016   $     66,153.25
Seyfarth Shaw LLP                        12/20/2016   $        266.00
United HealthCare                        12/22/2016   $     12,067.42
Enova International, Inc.                12/22/2016   $     38,179.88
Ytel, Inc.                               12/27/2016   $      5,200.00
Transunion                               12/27/2016   $        100.00
Gallop Solutions, Inc.                   12/29/2016   $      4,488.00
Experian                                 12/30/2016   $      5,450.00
AMONE                                    12/31/2016   $        145.00
LexisNexis Risk Solutions                12/31/2016   $      1,090.00
Effovex Solutions LLC                    12/31/2016   $      5,100.00
Microbilt Corporation                    01/01/2017   $      2,852.54
Microsoft                                01/01/2017   $        234.10
Yodlee                                   01/01/2017   $     10,000.00
Digital Copy Supercenter                 01/01/2017   $        231.00
Microsoft                                01/01/2017   $          1.78
Microsoft                                01/01/2017   $        167.74
Microsoft                                01/01/2017   $         71.42
Dept of Financial Institution ‐ Utah     01/01/2017   $        100.00
Karthik Nagarur, Esq. Attorney at Law    01/02/2017   $      2,530.00
Karthik Nagarur, Esq. Attorney at Law    01/02/2017   $      1,848.00
Karthik Nagarur, Esq. Attorney at Law    01/02/2017   $      3,047.00
Amazon Web Services                      01/04/2017   $        602.64
Amazon Web Services                      01/04/2017   $      3,042.07
MailChimp                                01/04/2017   $        240.00
State of Illinois                        01/04/2017   $        450.00
Adam Diekelman                           01/05/2017   $         57.29
Effovex Solutions LLC                    01/09/2017   $      4,680.00
Dale & Gensburg, P.C.                                       Unknown

Total                                                 $ 174,729.18
